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    MICHAEL TERPIN


                                 UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF NEW YORK


   MICHAEL TERPIN,
                                                       Case No.: 20-CV-3557 (CS) (LMS)
                        Plaintiff,
                                                       FIRST AMENDED COMPLAINT FOR:
            -against-                                  (1) VIOLATIONS OF THE RACKETEER
                                                       INFLUENCED AND CORRUPT
   ELLIS PINSKY, as an individual; and DOES            ORGANIZATIONS ACT (RICO) (18
   1-20, Inclusive,                                    U.S.C. § 1962(C)); (2) CONVERSION;
                                                       (3) MONEY HAD AND RECEIVED;
                        Defendants.                    (4) REPLEVIN; AND (5) PRELIMINARY
                                                       AND PERMANENT INJUNCTION

                                                       DEMAND FOR JURY TRIAL




               Plaintiff MICHAEL TERPIN, (“Plaintiff”), as and for his First Amended Complaint

for claims for relief against defendants ELLIS PINSKY (“Pinsky”) and DOES 1 through 20,

inclusive (“Doe Defendants”) (collectively, “Defendants”), based on personal knowledge as to

his own acts and information and belief as to the acts of all others, alleges as follows:

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                                          INTRODUCTION

         1.        This case involves a sophisticated cybercrime spree against Plaintiff by an

experienced criminal enterprise masterminded by a then 15-going-on-16-year-old high school

student with the active participation of other individuals, including several other minors. The

cybercrime enterprise, which for many years had hacked accounts of numerous individuals, stole

and laundered tens of millions in cryptocurrency from Plaintiff. Working with confederates on

multiple continents and on multiple heists, the ringleader of this scheme, Defendant Ellis Pinsky

(“Pinsky”), has been a cyber-criminal since age 13 and has claimed to have stolen over $100

million in cryptocurrency from numerous victims over that time. At least one of his confederates

has made similar multi-million dollar claims. Plaintiff Michael Terpin, a high-profile

cryptocurrency pioneer, fell victim to Pinsky’s criminal enterprise when, in early 2018, it stole

nearly $24 million worth of cryptocurrency through a hack perpetrated by Pinsky and his gang of

digital bandits (herein referred to as the “Enterprise”).

         2.        Pinsky, who recently turned 18, has apparently graduated from a suburban New

York high school and is set to attend college. In his early teens and along with confederates, he

began hacking computers and phishing victims with the mission of accessing his victims’

private accounts where they store cryptocurrency holdings, assets or private information. From

those exploits he has reputedly obtained over $100 million. One of his and the Enterprise’s

major criminal activities has been engaging in SIM swaps—a type of hack described in greater

detail below that involves accessing a victim’s mobile telephone to gain access to personal

information, such as two-factor authentication messages, to find information relating to

cryptocurrency accounts.

         3.        One of Pinsky’s partners was Nicholas “Nick” Truglia, a then 20-year-old New

York hustler who, until recently, was imprisoned in Santa Clara County, California, is charged

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with suspected grand larceny for stealing cryptocurrency, and is currently on bail awaiting

criminal trials in the state court in California and in the federal court in New York. Federal

authorities have indicted Truglia for stealing Plaintiff’s cryptocurrency. Truglia’s assignments

from the Enterprise often included identifying victims, obtaining their cell phone and passcode

numbers, conning the mobile phone carrier into giving him or another imposter a new SIM card,

and then handing off the scam to Pinsky to execute the hack. Truglia is part of the Enterprise but

not a Defendant in this action – Plaintiff has already sued Truglia in a separate action and

obtained a judgment against him from the Los Angeles County Superior Court in the State of

California.

         4.        Mr. Terpin’s case is typical of the way in which the Enterprise operates in a

coordinated manner to steal their victims’ cryptocurrency. Pinsky, Truglia, and others in the

Enterprise, who are sued herein as Doe Defendants, operated the Enterprise by dividing up their

responsibilities. Some members of the Enterprise locate potential targets (preferably those, such

as Mr. Terpin with large cryptocurrency holdings) and obtain information about their victims,

such as telephone numbers and carriers. Members of the Enterprise then either impersonate the

victims or coopt or bribe employees of the carriers to cooperate with the theft, forge identity

papers for the victims, and then take over the victim’s mobile telephone. Once in control of the

telephone, Pinsky, Truglia, and other members of the Enterprise then roam openly through files

of the victim and access and intercept two factor authentication messages until they located

information about cryptocurrency holdings that allow them to take control of the cryptocurrency

and exfiltrate such holdings into their own accounts.

         5.        It is believed that Pinsky met other members of the Enterprise in a chat room

called the “Original Gangsters” or “OGUsers Forum.” Based upon Plaintiff’s investigations,

including information from several informants (including a former accomplice of Pinsky’s

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referred to herein as “Individual X”) and statements made by Pinsky and Truglia to informants,

the Enterprise included numerous individuals both within and outside the United States. Plaintiff

further alleges on information and belief that Pinsky was aided not only by Truglia, but by

several other members of the Enterprise including “Accomplice A,” “Accomplice B” and

“Accomplice C” and other individuals.

         6.        Truglia has identified Pinsky and others as his confederates in cryptocurrency

thefts, including that of Mr. Terpin. In several recorded conversations after the 2018 theft that

were obtained by Plaintiff only in late December 2018, Truglia admitted how Plaintiff’s

cryptocurrency was purloined, described Pinsky’s integral role in the theft, named other

participants in the theft, and described how the proceeds of the theft were divided among the

members of the Enterprise. Along with other highly incriminating evidence, Truglia’s detailed

account of Pinsky’s penetration of Plaintiff’s accounts and how he unlocked the unique secret to

the passcodes for his crypto-wallets conclusively demonstrates that Pinsky was one of the

hackers.

         7.        The financial crimes of Pinsky, Truglia, and their confederates in hacking others

are no less insidious than bank robberies, credit card and bank fraud, and money laundering by

drug traffickers and terrorists. They are all egregious crimes against society that evince an utter

and callous disregard for the property and feelings of others. And they are deserving of the same

severe punishment and public opprobrium.

         8.        If not before, the Enterprise began its criminal exploits when Pinsky was only 13

(several years before Plaintiff’s SIM swap) and meets the requirements for a “criminal

enterprise” under the Racketeer Influenced and Corrupt Organizations Act (RICO), 18 U.S.C.

§ 1962(C). Although the full elements of Plaintiff’s RICO claim are set forth below, they are

briefly summarized here to provide context for the detailed allegations that follow.

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         9.        First, the Enterprise engaged in numerous “predicate acts” and violations that

constitute a pattern of racketeering under 18 U.S.C. § 1961(B) and (C) of RICO. These predicate

acts include multiple and separate acts of (a) wire fraud under 18 U.S.C. § 1343 by the Enterprise

each and every time it struck a new victim in transferring the money and cryptocurrency it stole

through interstate commerce; (b) money laundering under 18 U.S.C. § 1956(a)(1)(B)(i) by the

Enterprise laundering cryptocurrency through multiple transfers and use of “blenders” to try to

render the stolen cryptocurrency untraceable; (c) aggravated identity theft under 18 U.S.C.

§ 1028(A)(a)(1) by the Enterprise impersonating the victims of their SIM swaps and bribing the

employees of mobile carriers to transfer SIM cards and remove protections for such cards; and

(d) extortion and grand larceny under New York Penal Law §§ 155.40 and 155.42 (as when

Pinsky and other members of the Enterprise threatened Individual X and his family with physical

violence if he did not cooperate with the Enterprise and pay substantial money to Pinsky).

         10.       Second, the Enterprise had an existence separate and apart from the hack it

perpetrated on Mr. Terpin. As noted, the Enterprise began several years before it hacked Mr.

Terpin and continued after Mr. Terpin was hacked. It included attempts by Pinsky and his

accomplices, including Accomplice C, to destroy evidence and create a phony cover story by

falsely blaming Truglia alone for all the hacks. As alleged herein, the Enterprise perpetrated

criminal acts on numerous victims other than Mr. Terpin. As further evidence thereof, Pinsky’s

repeated boast that he obtained $100 million from his criminal activities represents a sum that he

could not have reached had the Enterprise not had numerous other victims, even taking into

account his share of the $24 million hack of Mr. Terpin and his share of a separate and distinct

hack. Moreover, the efficient, precise and coordinated manner in which the Enterprise carried

out the SIM swap of Mr. Terpin demonstrated an expertise in Pinsky and his accomplices that




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could only have been obtained with practice and via numerous heists over an extended and

lengthy period of time.

         11.       Third, the Enterprise was of a continuing nature. Given the inherently unlawful

nature of the Enterprise, which engaged in repeated predicate acts of wire fraud, money

laundering, aggravated identity theft and extortion, the risk of continuity of the Enterprise is

deemed established under applicable Second Circuit law. See United States v. Aulicino, 44 F.3d

1102, 1111 (2d Cir. 1995); GICC Capital Corp v. Tech. Fin. Group. Inc., 67 F.3d 463, 466 (2d

Cir. 1995). Moreover, as alleged below, the illegal activity of the Enterprise is both an open-

ended and closed-ended criminal enterprise.

         12.       The wholesome appearance of Pinsky and other members of the Enterprise is

deceptive. Pinsky and his fellow Enterprise members are in fact evil computer geniuses with

sociopathic traits who heartlessly ruin their innocent victims’ lives and gleefully boast of their

multi-million-dollar heists. As one of many examples, one victim lost all the money set aside for

his daughter’s college education. The apparent ringleader of the group, Pinsky, is constantly

reaching out for the support of equally callous offenders who think nothing of stealing millions

from their victims to live a life of conspicuous consumption. The Enterprise—in Mafia-like

fashion—threatens others (such as Individual X) with physical harm to themselves and family

members to coerce them to engage in illegal activities. Pinsky is reputed to have used his ill-

gotten gains to purchase multi-million-dollar watches, illegal nightclub sprees at high end clubs

in New York City (he is a minor), and private jet travel, while Truglia has himself rented private

jets and played the part of a dashing playboy with young women pampering him.

         13.       Pinsky also has continually boasted to friends that he is invincible and would

never get caught. In early 2019, Pinsky texted:

                    “You think I’m fucking dumb. . . . I’m not fucking stupid. . . . I threw out

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                    all my shit [computers]. . . . Fuck that attorney [Terpin’s lawyer]. They

                    don’t have shit on me. . . . You think I’m dumb enough to keep all my

                    money in America. . . . [Truglia] is a dumb ass . . . and got caught.”

         14.       Since the theft, Plaintiff has mounted an all-out, global effort to track down

Pinsky, Truglia, and others to find evidence about their involvement in the theft of his

cryptocurrency and in other criminal activities and hacks and to recover his assets. In a

California lawsuit, Mr. Terpin obtained a writ of attachment for Truglia’s assets, and later

obtained a judgment against Truglia for almost $75.8 million. As Plaintiff increased the

pressure, Pinsky began to panic. Following Terpin’s lawyer calling Pinsky’s mother on January

3, 2019, his mother contacting her lawyer, and Mr. Terpin’s attorneys then presenting that lawyer

with a draft complaint at a meeting on January 7, 2019, Pinsky himself made a series of

devastating admissions in texts with an acquaintance who is an African-American. Among other

things, he acknowledged that: “I’m well off I’m good I don’t need extra money I’m set for life . .

. You’re a dumb nigger I could buy you and all your family . . . I have 100 million dollars.”

As evidence began to leak out about the Enterprise and Pinsky’s role in it, Pinsky also cooked up

a phony defense blaming Truglia alone for the hacks and had an accomplice attempt to get other

members of the Enterprise to adopt that lie.

         15.       Since that date, Pinsky admitted his participation in the theft by making a

payment to Plaintiff of cryptocurrency, cash, and a watch. On the one hand, the value of slightly

over $2 million at the time of return represents a fraction of the amount for which Pinsky is

responsible. On the other hand, however, it confirms Pinsky’s involvement since there is

obviously no other explanation for his possession of such funds or his delivery to Plaintiff of any

amount.




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         16.       Pinsky has redefined the conventional meaning of “spoiled brat.” Pinsky is

arrogant, remorseless, and accustomed to getting what he wants—private jet flights, luxury cars,

and expensive accessories. Whether this evil mastermind’s parents were recklessly negligent or

worse in failing to monitor and control their wayward son remains to be seen.

         17.       The tables are now turned on Pinsky, Truglia, and their confederates in the

Enterprise. Plaintiff will expose the secret dark side of their teenage counterculture of SIM

swaps and cryptocurrency thefts that operate – with fellow hackers in the OGUsers’ forum –

beneath a seemingly wholesome facade. In view of Pinsky’s boast that he has salted away $100

million in ill-gotten gains, nothing less than full restitution of Plaintiff’s losses, plus interest,

attorneys’ fees, costs, and expenses, will satisfy Plaintiff that Defendants have adequately

compensated him for his loss. And, an award of treble damages or punitive damages will send

the appropriate message to Defendants and others that the epidemic of these types of SIM card

attacks have real consequences and must immediately cease.

                                        NATURE OF ACTION

         18.       This is an action for violation of the Racketeering Influenced and Corrupt

Organizations Act (“RICO”), 18 U.S.C. §§ 1961-1968); conversion and conspiracy to commit

conversion; money had and received; replevin; aiding and abetting unlawful conduct; and a

preliminary and permanent injunction.

                                    JURISDICTION AND VENUE

         19.       This Court has subject matter jurisdiction of this civil action pursuant to 28 U.S.C.

§§ 1332 (a) and 1367(a) and under the doctrine of pendent jurisdiction. This Court also has

subject matter jurisdiction of this civil action pursuant to 28 U.S.C. Section 1332(a)(1) because

this dispute involves citizens of different states and the amount in controversy exceeds $75,000,

exclusive of interest and costs.

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         20.       This Court also has personal jurisdiction over Defendant Pinsky. As alleged

more fully below, each of the Defendants, acting in person or through their respective

employees, agents and/or alter egos, has engaged in substantial, continuous, and systematic

activities within the State of New York. Pinsky resides within the State of New York and this

Judicial District. The claims sued upon arise out of Defendants’ forum-related, unlawful

activities directed towards Plaintiff.

         21.       Venue is proper in this Court under 28 U.S.C. §§ 1391(a)(2), (b)(2) and (c),

because a substantial part of the events or omissions giving rise to Plaintiff’s claims against

Defendants occurred in this Judicial District and a substantial part of the property that is the

subject of the action is situated within this Judicial District.

                                               PARTIES

         22.       Plaintiff Michael Terpin is a citizen of the United States who has a residence in

Los Angeles County, California. Mr. Terpin obtained wireless services from AT&T Mobility,

Inc. (“AT&T”) in Los Angeles County in the mid-1990s. Mr. Terpin is resident in California,

Puerto Rico and Nevada. Mr. Terpin continued at all times relevant to the allegations herein to

receive wireless services from AT&T for a telephone number with a Southern California area

code.

         23.       Mr. Terpin is well known for his involvement with cryptocurrency.

Cryptocurrency is digital or virtual currency designed as a medium of exchange in which

encryption techniques generate units of currency that verify the transfer of funds through an

encrypted and decentralized ledger called “blockchain.” The blockchain records transactions and

manages the issuance of new units of currency. Cryptocurrency is decentralized, operates

independently of a central bank or other regulatory authority, and is often traded by parties

through “exchanges.” Once a transfer of cryptocurrency has occurred, it is impossible to trace or

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reverse the transaction without possession of certain private and complex key numbers held only

by the transferor.

         24.       Defendant Ellis Pinsky is an 18-year-old citizen of the United States residing with

his mother in suburban New York. At the time in 2018 that he stole nearly $24 million of

cryptocurrency holdings from Plaintiff, he was approaching his sixteenth birthday and was

already highly adept in matters regarding computers, the digital world, phishing, cryptocurrency

holdings, cryptocurrency theft, the blockchain, and laundering cryptocurrency holdings and

money.

         25.       Non-party Nicholas Truglia is a former resident of New York, New York, who

until recently was incarcerated in the Santa Clara County jail in California on charges of grand

theft, identity theft, unauthorized computer access, and other felony charges. Truglia is currently

out on bail for charges in the California state court system and a federal indictment in the

Southern District of New York involving the theft of Plaintiff’s $24 million cryptocurrency.

         26.       Plaintiff is ignorant of the true names and capacities of defendants sued herein as

DOES 1-20, inclusive, and therefore sues these defendants by such fictitious names. As alleged

below, individuals whom Plaintiff has preliminarily identified as Accomplice A, Accomplice B,

and Accomplice C have taken various roles in the Enterprise. When the true names of these and

other individuals is ascertained, Plaintiff will amend this Complaint to allege their true names

and capacities.

         27.       Plaintiff is informed and believes and, on that basis, alleges that Defendants, and

each of them, were and are the agents, employees, representatives, principals, partners, co-

conspirators, joint venturers and/or alter egos of each of the other Defendants, and/or otherwise

were acting in concert with each of the other Defendants, and in such capacity or capacities

participated in the acts or conduct alleged herein. They were also acting within the scope of such

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relationship, such that each should be held liable for the acts of the other. In addition, they are

each in some manner responsible for the damages suffered by Plaintiff and the relief sought here

as alleged below.

                                     COMMON ALLEGATIONS

         28.       This lawsuit is about the unauthorized and wrongful taking from Plaintiff of

nearly $24 million in cryptocurrency by Pinsky and other members of the Enterprise. Pinsky

and his fellow gang members, including Truglia, and Accomplices A, B and C, were at the center

of the plot to gain unlawful access to Plaintiff’s accounts and information via bribery and/or

impersonation and identity theft, and to steal and to launder his cryptocurrency, all using

communications in interstate commerce.

                                 SIM SWAPS AKA SIM-JACKING

         29.       The theft here was made possible by the increasingly prevalent practice of

unauthorized SIM swaps. This is an illegal maneuver by which a hacker takes over a victim’s

cellular phone account to intercept messages to facilitate the theft of funds (often

cryptocurrency) and transfer such funds to the hacker or the hacker’s accomplices or to

cryptocurrency accounts under the hackers’ control. Increasingly publicized, SIM swaps have

become a focus of federal and state law enforcement authorities.

         30.       A “SIM” or “Subscriber Identity Module” (also known as a “SIM card”) is a

small card inserted into a mobile device enabling the device to communicate with the service

provider. A SIM contains data necessary to make a successful connection between the mobile

phone and the telecommunication provider. SIM cards store files that are used to uniquely

identify them.

         31.       A “SIM swap” is a practice whereby a hacker gains access to a victim’s telephone

account or number in order to intercept communications, including text messages, to the mobile

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telephone. The process is also referred to as “SIM-jacking.” A perpetrator of a SIM-jack

typically arranges through bribery of someone (often a carrier employee) with access to customer

information at the carrier to change the SIM card assigned to a user to a telephone under the

control of the hacker or the hacker’s accomplices. Once the SIM transfer has occurred, the

hacker uses the hacker’s phone to impersonate the victim with service providers, such as e-mail

providers, and uses the victim’s phone number to request changes to account settings and to reset

passwords to take control of the victim’s accounts.

         32.       Perpetrators of SIM swap fraud, such as Pinsky, Truglia, Accomplices A, B and C

and other participants in the Enterprise, intercept “2-Factor Authentication” (or “2FA”) messages

sent to the victim’s telephone. 2FA is frequently used as a security mechanism for authentication

purposes. Perpetrators of SIM swaps, including members of the Enterprise, intercept the

messages to gain access to the accounts owned by the victim, including cryptocurrency accounts

or other accounts providing access to such accounts. Once the perpetrator gains access to the

account, the perpetrator transfers the funds in such accounts to an account or accounts controlled

by the perpetrator or confederates.

         33.       The perpetrators of SIM swap fraud – SIM-jackers – specifically target victims

owning cryptocurrency because of the nature of cryptocurrency transactions and seek to steal the

identity of such victims. The digital assets embodied by cryptocurrency (such as Bitcoin or

Ethereum) are a medium of exchange using cryptography to secure the transaction. Typically,

the holder of cryptocurrency has both a “public” and a “private” key or address that the holder

uses to receive, transfer, or use cryptocurrency. The private key, which is individual to the

owner of the cryptocurrency, is used to write in the public ledger to transfer cryptocurrency.

Because the key can be used to “spend” cryptocurrency, owners typically keep such keys secure.




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Such keys are complex. For example, in the case of Bitcoin, a 256-bit private key may contain

64 characters consisting of numbers and capitalized and uncapitalized letters.

         34.       Once a transfer of cryptocurrency has occurred, it cannot be reversed. Although

the transaction is displayed in a public ledger, it is not readily possible to identify the transferor

or transferee without knowing the parties’ private keys. Cryptocurrency thus makes an attractive

target for perpetrators of SIM swap fraud, such as the Enterprise, because the perpetrators can

transfer stolen digital assets to accounts that are not readily traced or reversed and can be

accessed anywhere in the world free from government regulation or inspection.

                                 THE JANUARY 7, 2018 SIM-JACK

         35.       Plaintiff makes the allegations of Paragraphs 36-56 on information and belief.

         36.       Pinsky and Truglia, with the active assistance of Accomplices A, B and C and

other members of the Enterprise, orchestrated and efficiently carried out the SIM swap of

Plaintiff’s cell phone on January 7, 2018 by bribing an AT&T employee or contractor to obtain a

SIM card connected to Mr. Terpin and then intercepting messages directed to Mr. Terpin so that

they could steal his cryptocurrency, which they did on January 7-8, 2018.

         37.       Some time ago, a group of young video game players—with participants in the

United States and Great Britain—formed a user group called “Original Gangsters” or

“OGUsers.” In time, this moniker proved apt as they morphed into the nucleus of a sophisticated

criminal enterprise operating in North America, Europe, and Asia. Their racket was theft of

cryptocurrency by means of SIM swaps. Each of the dozen or more gangsters in the Enterprise

had assigned roles, including identifying the victims, obtaining their cell phone and passcode

numbers, impersonating and stealing the identity of the victims, conning or bribing mobile phone

carriers’ employees into giving the imposter a new SIM card, and handing off the personal

identity information to the other members of the Enterprise who executed the hack and laundered

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the cryptocurrency holdings into Bitcoins or fiat money in accounts under their own control that

could be transferred to anonymous wallets.

         38.       The Enterprise’s hack of Mr. Terpin fits this pattern. As summarized in the

examples in the following chart, the members of the Enterprise divided up the responsibilities for

their January 7, 2018 cryptocurrency hack of Michael Terpin and the subsequent laundering of

the cryptocurrency, almost all of which involved electronic communications:


 Date                                Events and Participants
 On or before January 7, 2018        Pinsky and Accomplice A identify Michael Terpin as the target
                                     of a SIM swap hack. Information is exchanged among them
                                     about Plaintiff and the plan via electronic communications.
 On or before January 7, 2018        Pinsky secures via electronic communication(s) the agreement
                                     of Jamil Smith, an employee or contractor of AT&T, to obtain
                                     the SIM card for Mr. Terpin’s mobile phone in exchange for
                                     several hundred dollars.
 On or before January 7, 2018        Jamil Smith transfers via electronic communication to a
                                     member of the Enterprise, believed to be Accomplice B, the
                                     necessary information for the Enterprise to use the SIM card
                                     for Mr. Terpin’s mobile phone and removes protection on the
                                     SIM card, including PIN.
 On or before January 7, 2018        Either before, concurrently, or shortly after delivery of the SIM
                                     card, Pinsky pays the bribe amount to Jamil Smith via
                                     electronic communication
 January 7, 2018                     Accomplice B installs Mr. Terpin’s unprotected SIM card in a
                                     phone controlled by him, which cuts off Terpin’s access to his
                                     phone.
 January 7, 2018                     Pinsky and possibly other members of the Enterprise, including
                                     Accomplice A, begin via electronic Internet connections to
                                     attempt to access Terpin’s accounts. As and when necessary to
                                     bypass passwords, Pinsky and possibly other members of the
                                     Enterprise via electronic communications request password
                                     resets and/or are asked for 2FA information.
 January 7, 2018                     Accomplice B, who is in control of a phone that is acting as
                                     Mr. Terpin’s phone by virtue of the SIM-swap, intercepts
                                     password reset and 2FA messages that are intended for and
                                     sent to Mr. Terpin via electronic communications.
 January 7, 2018                     Each time Accomplice B intercepts such a message intended
                                     for Mr. Terpin, Accomplice B promptly forwards the messages
                                     via electronic communications to Pinsky.
 January 7, 2018                     Using the 2FA and password reset messages forwarded by
                                     Accomplice B, Pinsky and possibly other members of the
                                     Enterprise access accounts of Mr. Terpin via electronic Internet
                                     communications until they reach Mr. Terpin’s cryptocurrency
                                     holdings.
 January 7-8, 2018                   Pinsky and other members of the Enterprise including
                                     Accomplice A steal nearly $24 million of Mr. Terpin’s
                                     cryptocurrency holdings (Triggers, Steem and Skycoin) by
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 Date                                Events and Participants
                                     giving instructions via electronic communications to transfer
                                     such holdings from Mr. Terpin’s accounts to accounts and/or
                                     wallets held and controlled by the Enterprise.
 January 7-8, 2018                   Pinsky and other members of the Enterprise transfer via
                                     electronic communications the Triggers from Mr. Terpin’s
                                     accounts worth almost $22 million to five cryptocurrency
                                     accounts under their control at the cryptocurrency exchange
                                     Binance.
 January 7-8, 2018                   Pinsky and other members of the Enterprise via electronic
                                     communications instruct Binance to convert the Triggers in
                                     their accounts to Bitcoin (BTC).
 January 7-11, 2018                  Pinsky, Truglia, Individual X and Accomplice B and others in
                                     the Enterprise via electronic communications instruct Binance
                                     to move the BTC out of their five separate accounts to private
                                     cryptocurrency wallets controlled by the members of the
                                     Enterprise. Although Binance has refused to provide
                                     information to Mr. Terpin about its investigation of these
                                     matters, it is believed that these transfers include the transfers
                                     of over 30 BTC on January 7, 2018, over 80 BTC on January
                                     8, 2018, over 90 BTC in a separate transfer on January 8, 2018,
                                     and over 5 BTC on January 9, 2018, and that there were other
                                     similar transfers on these and subsequent days until virtually all
                                     of the proceeds had been moved out of Binance.
 January 10, 2018                    Individual X, at Pinsky’s instruction, attempted via electronic
                                     communication to transfer 50 BTC from Binance to a private
                                     wallet but misdirected the transfer.
 After January 7, 2018               The members of the Enterprise, via electronic communications,
                                     successfully launder the Steem cryptocurrency.
 After January 7, 2018               The members of the Enterprise are unsuccessful in laundering
                                     the Skycoin cryptocurrency.
 After January 11, 2018              Pinsky and other members of the Enterprise via repeated and
                                     numerous electronic communications move and further launder
                                     the cryptocurrency in their private accounts in hundreds of
                                     additional transfers.
 After January 11, 2018              Pinsky and the other members of the Enterprise divide the
                                     proceeds of the hack of Mr. Terpin with Pinsky, Accomplice A
                                     and Truglia receiving greater amounts and other members of
                                     the Enterprise receiving smaller amounts.
 After January 11, 2018              Pinsky, Truglia and other members of the Enterprise, via
                                     electronic communications, convert BTC in their private
                                     accounts to cash and use the cash and/or BTC to purchase
                                     luxury goods, services and entertainment.


         39.       On or prior to January 7, 2018, Accomplice A, who with Pinsky appears to be a

ringleader of the Enterprise, identified Mr. Terpin as the target of the hack.

         40.       On or about January 7, 2018, Pinsky himself called, texted or otherwise

electronically communicated with an employee or contractor of AT&T named Jamil Smith (with

whom he was previously acquainted), and secured Smith’s agreement to obtain the SIM card for
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Mr. Terpin’s phone in exchange for a bribe of several hundred dollars. In a separate electronic

communication that occurred prior to, concurrent with, or shortly after delivery of the SIM card,

Pinsky sent the bribe payment to Smith.

         41.       On or about January 7, 2018, Jamil Smith transferred the SIM card to Accomplice

B (most likely through the Internet) with the information needed to activate Mr. Terpin’s SIM

card in a phone controlled by Accomplice B. Smith’s actions at that time included removing the

PIN that protected the SIM card from being used by anyone other than Mr. Terpin.

         42.       On January 7, 2018, Accomplice B installed the SIM card in a phone controlled

by him. On January 7, 2018, Plaintiff’s phone went dead. The SIM-jackers for all intents and

purposes had hijacked Plaintiff’s digital identity.

         43.       On or about January 7, 2018, Accomplice B, who had been involved in previous

SIM swaps, controlled the phone with Mr. Terpin’s SIM card and intercepted electronic 2FA

messages on the phone meant for Mr. Terpin and forwarded them to Pinsky and Accomplice A.

         44.       Through their interception of 2FA messages, on or about January 7, 2018, Pinsky

and the other members of the Enterprise were successful in finding information about Mr.

Terpin’s accounts and cryptocurrency holdings sufficient to control the accounts and the

cryptocurrency in them.

         45.       On January 7 and 8, 2019, Pinsky and his accomplices engaged in multiple

electronic transactions across state lines and internationally by which they accessed and stole

nearly $24 million worth of cryptocurrency from Mr. Terpin in the form of Triggers, Skycoin,

and Steem.

         46.       On and after January 7, 2018, the members of the Enterprise transferred Mr.

Terpin’s stolen cryptocurrency electronically to five cryptocurrency accounts under their control

at the cryptocurrency exchange firm Binance.

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                          LAUNDERING PLAINTIFF’S STOLEN COINS

         47.       Like drug cartel money, stolen cryptocurrency holdings are dirty or “hot” because

they may raise suspicion as to their origins (particularly if they are possessed by a teenager like

Pinsky). Cryptocurrency thus may be very difficult to spend if it is not either washed or

converted to other forms of readily-spendable currency. The Enterprise thus had to move and

launder the three types of coins they stole from Plaintiff, i.e., 3,000,000 Triggers, 12,500 Steem,

and 20,000 Skycoin.

         48.       On and after January 7, 2018, Pinsky and other members of the Enterprise

instructed Binance to convert the Triggers that they had transferred to the separate accounts

under their control at Binance to Bitcoin (BTC), which is one of the best-known and readily

usable forms of cryptocurrency

         49.       On January 7-11, 2018, Pinsky, Truglia, Individual X, Accomplice B and other

members of the Enterprise instructed Binance to move the Bitcoin out of the five separate

Binance accounts they had established to private cryptocurrency wallets controlled by them. (A

cryptocurrency wallet is a physical medium or program storing the public and private keys

needed to trade cryptocurrency.) Each transfer by Pinsky and the other members of the

Enterprise entailed multiple electronic communications across state lines or internationally using

computers or other devices and the Internet.

         50.       The members of the Enterprise, via electronic communications, gave numerous

instructions to Binance that resulted in almost all of the proceeds of the Triggers stolen from Mr.

Terpin being moved from Binance to private wallets. As examples, there were electronic

communications directing the transfer of over 30 BTC on January 7, 2018, of over 80 BTC on

January 8, 2018: of over an additional 90 BTC on January 8, 2018: and of over 5 BTC on

January 9, 2018. In addition, Individual X (at Pinsky’s instruction) attempted on January 10,

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2018 via electronic communications to transfer 50 BTC in two separate transactions from

Binance, but misdirected the transfers.

         51.       Plaintiff alleges that the members of the Enterprise made additional transfers of

Bitcoin from Binance to private wallets. Plaintiff does not yet have access to the specific details

of these additional transfers, which are in the possession of the Enterprise, the members of which

processed these transactions and transfers in their own accounts after stealing Mr. Terpin’s

cryptocurrency. Such information is also believed to be in the possession of Binance, but

Binance has refused to provide Plaintiff with information about these transactions. Given the

value of the Triggers at the time they were taken from Mr. Terpin (which was $22.7 million, the

equivalent of about 1,350 Bitcoin), there were additional transfers from Binance to the members

of the Enterprise.

         52.       After Pinsky and the other members of the Enterprise had transferred the Bitcoin

in their Binance accounts to private wallets, they continued to move and further launder the

cryptocurrency in literally hundreds of additional transfers in January 2018 and for several

months thereafter. All of these multiple transfers were done electronically.

         53.       At about the same time and continuing throughout 2018, Pinsky, Truglia and

other members of the Enterprise converted Bitcoin to cash to purchase luxury goods, services

and entertainment. Indeed, Truglia conspicuously flaunted his wealth, according to Chris David,

as did Pinsky.

         54.       Defendants attempted to launder, and in fact laundered, the Steem coins as well.

         55.       Laundering the Skycoin proved more difficult. Defendants opened an account at

the C2CX exchange in the name of a Florida State student, which was apparently a stolen

identity. As further alleged below, on or after January 7, 2018, Pinsky enlisted the assistance of

Individual X to establish an account at C2CX for the purpose of laundering the cryptocurrency.

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Plaintiff further alleges on information and belief that the Enterprise proceeded to convert the

Skycoin into Bitcoin at substantially below market valuations, but it was ultimately unable to

move the proceeds off the exchange.

         56.       Sometime in early 2018, the members of the Enterprise divided the proceeds of

the hack of Mr. Terpin amongst themselves with Pinsky, Accomplice A and Truglia receiving

greater amounts of the stolen cryptocurrency and others receiving smaller amounts. Pinsky, as

one of the ringleaders of the Enterprise’s hack of Mr. Terpin, played a significant role in

determining how the proceeds were split.

                          PINSKY AND TRUGLIA ADMIT THEIR CRIMES

         57.       The evidence of Pinsky’s, Truglia’s and the Enterprise’s culpability for

organizing and directing scores of SIM swaps and thefts, collectively totaling well over $100

million of cryptocurrency holdings, including Plaintiff’s nearly $24 million, is overwhelming

and irrefutable.

         58.       The involvement of Pinsky and the Enterprise in the theft of Mr. Terpin’s

cryptocurrency was confirmed by revelations regarding the involvement of Truglia in the hack

and by subsequent investigations. In November 2018, Truglia was arrested for the theft of $1

million of cryptocurrency holdings owned by someone other than Plaintiff. On December 18,

2018, the Santa Clara County Superior Court held a bail hearing for Truglia. In this hearing, the

Court cited evidence that on January 7, 2018, which the Court states was the same date that

Terpin lost more than $20,000,000 through a SIM swap, Truglia told someone named Ryan

O’Keefe that he had stolen a cryptocurrency wallet with 20 million in it. On the same date,

Truglia texted a friend: “I’m a millionaire. I’m not kidding. I have 100 Bitcoin.”

         59.       On January 7, 2018, the average price of one Bitcoin varied between $16,033 and

$17,244. See https://www.livebitcoinnews.com/bitcoin-price-analysis-january-7th-2018-bears-

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control/. On the date of the Terpin SIM swap, Truglia boasted that “today my life changed

forever,” and he offered to hire “porn star escorts” and take his friends to the Super Bowl.

         60.         Truglia has been identified in a California criminal case as the perpetrator of

numerous SIM swap frauds. In a December 2018 hearing in Truglia’s case, the prosecution cited

an investigatory report revealing that Truglia had used telephone accounts obtained through SIM

swaps to register new cryptocurrency accounts, including accounts on Coinbase, Gemini, and

Binance. Truglia also engaged in money laundering efforts after his SIM swaps by moving his

stolen cryptocurrency through multiple addresses, breaking up the stolen amounts into multiple

segments of smaller amounts, structuring his transactions to avoid reporting requirements, and

otherwise taking steps to avoid due diligence and suspicion. As Mr. Terpin learned in late

December 2018, Truglia has boasted about his cybercrimes to many friends.

         61.         Likewise, Pinsky has been identified as Truglia’s partner in multiple SIM swap

frauds, which was how Mr. Terpin first learned of Pinsky. In 2018, after the Terpin hack but

prior to his arrest, Truglia implicated Pinsky in several conversations recorded by a friend.

Critically, however, Mr. Terpin did not learn that Truglia had done so, and therefore did not

know of Pinsky’s involvement, until late December 2018. In a declaration that month under

penalty of perjury, Chris David quoted the following admissions by Truglia from a September

2018 conversation between the two of them:

               (a)        How Pinsky and he hacked Terpin to steal his $24 million worth of

                          Cryptocurrency holdings;

               (b)        How Pinsky and he laundered cryptocurrency holdings out of the blockchain

                          into cash;

               (c)        Truglia has an account at the Gemini exchange and took out $1,200,000;

               (d)        Truglia committed tax fraud;

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               (e)        Truglia saw records indicating that in December 2017, Pinsky had $70

                          million; and

               (f)        One of their victims, Plaintiff, is too “dumb” to be able to figure out what

                          happened and trace the laundered cryptocurrency holdings.

         62.         In another conversation on September 9, 2018 (which Mr. Terpin also did not

learn of until late December 2018), Truglia related the following to a mutual friend:

               (a)        He will never be caught hacking/stealing because he is so good at it—

                          literally, “how are they going to prove . . . my story [his defense] wrong?”;

               (b)        “Nobody can get me in trouble. Nobody can put me in jail. I would bet my

                          life on it, actually”; and

               (c)        As of September 2018, Truglia had $60 million of Bitcoin.

         63.         In still another 2018 conversation (which Mr. Terpin learned of in late December

2018), Truglia admitted that:

               (a)        He told the police that he had $60 million when they came to his apartment;

               (b)        He had stolen all his money and had not legitimately accumulated his

                          wealth;

               (c)        He was a computer hacker and stole his victims’ cryptocurrency holdings

                          and that this was thrilling for him—“the thrill of the game”—which he

                          would never stop doing—even if there were no money involved; it was all

                          “a mind game”;

               (d)        His partner was named Ellis Pinsky, and Pinsky had stolen between $70 and

                          $80 million through hacking of multiple victims and was a professional

                          thief;




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               (e)        He, Truglia, is a “Robin Hood” who robs from the rich but does not give to

                          the poor;

               (f)        Pinsky and Truglia do hacking and SIM swapping by Truglia locating the

                          victims through social engineering and Pinsky intercepting 2FA messages to

                          find out information about accounts;

               (g)        Truglia’s “biggest” SIM swap was Plaintiff Michael Terpin for $24 million,

                          and Pinsky was his partner; and

               (h)        Pinsky took proceeds from the $24 million.

         64.         In mid-August of 2018, before he went to jail, Truglia further admitted his guilt

for purloining Plaintiff’s $24 million of coins. Remarkably, on his public Twitter account

(@erupts) at Twitter.com, Truglia admitted six times that he “Stole 24 million,” referring to

Plaintiff’s cryptocurrency holdings. As with other similar communications, Mr. Terpin did not

learn of this communication until late December 2018.

         65.         On information and belief, Plaintiff alleges that Pinsky himself also has admitted

that he is a cybercriminal. He has told friends that, since he was 13, he has stolen over $100

million worth of cryptocurrency through scores of hacks, and boasted of hundreds of thousands

in cash stored in his bedroom in his mother’s home. Indeed, when Pinsky repaid in 2019 a

portion of the sum that had been stolen from Plaintiff, it included a cash payment consistent with

Pinsky’s boast.

         66.         Pinsky fancies himself as some kind of Super Boy who is beyond the reach of the

law and impervious to Plaintiff’s efforts to hold him liable for the $24 million heist. This brash

egoist has texted:

                     “You think I’m fucking dumb . . . I’m not fucking stupid . . . I threw out

                     all my shit [computers] . . . Fuck that attorney [Terpin’s lawyer]. They

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                    don’t have shit on me. . .You think I’m dumb enough to keep all my

                    money in America . . . [Truglia] is a dumb ass . . . and got caught.”

         67.       In the same text session where he is declaring himself invincible, Pinsky

demonstrated the wisdom of the adage that “pride comes before a fall.” A wannabe Master of

the Universe, Pinsky wrote to an African-American: “I’m well off I’m good I don’t need extra

money I’m set for life . . . You’re a dumb nigger I could buy you and all your family . . . I have

100 million dollars.”

         68.       More recently, after being confronted by Plaintiff about his involvement, Pinsky

(with the advice of sophisticated legal counsel) sent cryptocurrency, cash, and a watch to

Plaintiff without any conditions. As Pinsky and Plaintiff have no other connection to one

another other than as stated herein, there was no reason to repatriate these items—worth roughly

$2 million at the time—other than to make a partial repayment of what he had stolen from

Terpin. Pinsky has thereby further admitted his complicity.

                           PINSKY’S EXTORTION OF INDIVIDUAL X

         69.       Plaintiff makes the allegations in Paragraphs 69-74 regarding Pinsky’s extortion

of Individual X on information and belief.

         70.       On or about January 3, 2018, Pinsky first threatened Individual X, whom he had

recruited to be part of the Enterprise. On or about January 3, 2018, Individual X participated in a

group twitter chat with Pinsky and other members of the Enterprise and certain third persons.

On that same date, after the chat ended, Pinsky sent a private message to Individual X that he,

Pinsky, was angry that Individual X had included individuals in the chat who should not have

been on the call. Pinsky at that time then threatened Individual X that if he did not want his

mother dead he should pay Pinsky one thousand dollars’ worth of any cryptocurrency

Thereafter, Accomplice C, a participant in the chat, confirmed Pinsky’s threat to Individual X.

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After further threats in or about the same time, in which Pinsky claimed that he had spoken with

Individual X’s mother at her office and after Pinsky had rejected several offers of payment,

Pinsky agreed to have Individual X pay Pinsky in Zclassic (which is a type of cryptocurrency),

which Individual X then did, and Pinsky offered to help with Individual X’s portfolio.

         71.       On or about January 7, 2018, Accomplice C and Pinsky separately contacted

Individual X and asked him to establish a verified Binance account in return for Pinsky

supposedly aiding him to recover the money he had sent to Pinsky. Plaintiff further alleges that,

because of the timing of the request, this was one of the Binance accounts the Enterprise

established for the transfer of Mr. Terpin’s stolen cryptocurrency. Individual X then opened the

Binance account and deposited Triggers in the account on both January 7 and January 8, 2018

and (as further instructed by Pinsky) requested Binance to convert the Triggers to Bitcoin over a

number of days. On or about January 8, 2018 Pinsky and others in the Enterprise then instructed

Individual X to transfer the Bitcoin in Individual X’s Binance account to personal wallet

accounts under their control. At or about the same time, Pinsky and members of his Enterprise

further asked Individual X to establish an account on C2CX for laundering Mr. Terpin’s

Skycoin.

         72.       On January 9, 2018, Pinsky told Individual X that he would have to transfer his

Binance account balance to a dark web Bitcoin site name Bitblender. Pinsky further told

Individual X that he was destroying his--Pinsky’s--computer. On January 10, 2018, Pinsky told

Individual X that he would have to transfer funds on his own without Pinsky’s help. Individual

X on January 10, 2018 mistakenly transferred 50 Bitcoin to an account other than Pinsky’s.

When Pinsky learned of this, he told Individual X that he would not receive any money from the

transfers and instructed him to destroy all files relating to the transfer and to never message

Pinsky on the same account again.

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         73.       Apparently enraged by Individual X’s mistake, Pinsky then repeatedly threatened

Individual X and attempted to extort the misdirected cryptocurrency from him. For example, in

or about February 2018, Pinsky told Individual X to sell drugs to repay Pinsky’s lost money.

Pinsky also threatened Individual X by stating “Do u understand that if u did this to like a mafia

or something you’d be dead by now [,] right?” In all, Pinsky demanded that Individual X pay

Pinsky back hundreds of thousands of dollars at the rate of $3,000 to $4,000 a week.

         74.       On or about January 9, 2019 (after Truglia’s arrest and almost immediately after

Mr. Terpin’s lawyer had presented Pinsky’s lawyer with a copy of a draft complaint on January

7, 2019), Accomplice C texted Individual X stating that “It’s about to be over” and that

“someone snitched on” Pinsky. Accomplice C further stated that Pinsky had “framed it on

someone else” and that everyone was to get “the story straight” or “we can get fucked.” When

asked what the “story” was, Accomplice C told Individual X that “basically there’s this guy

named Nick, he paid us to let him use our Binance accounts” and that Nick “added his own 2FA

onto the accounts.” Accomplice C stated that he was providing this story “just in [] case

any[t]hin[g] were to happen.” On information and belief, the references to “Nick” refer to

Truglia and any suggestion that Accomplice C and Individual X may not have known Truglia

despite each of them having roles in the hack of Mr. Terpin is consistent with a classic hub-and-

spoke criminal enterprise model in which persons such as Pinsky and other ringleaders are at the

hub of wheel and control numerous spokes of other co-conspirators.

                OTHER ACTIONS OF THE PINKSY CRIMINAL ENTERPRISE

         75.       Plaintiff makes the allegations in Paragraphs 76-77 on information and belief.

         76.       Pinsky and Accomplice A, who were apparent leaders of the Enterprise, were

involved in SIM swaps and hacks other than that of Mr. Terpin. Plaintiff further alleges that

Pinsky had used Accomplice B on numerous occasions and had committed other hacks with

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Accomplice A. Truglia, who undoubtedly was involved in hacks other than that of Mr. Terpin,

repeatedly stated in his statements to Chris David in 2018 before he was arrested (and that were

first known to Plaintiff only in December 2018) that Pinsky had frequently used social

engineering ploys to go after disgruntled employees of mobile carriers to assist in SIM hacks.

Moreover, the coordinated nature of the attack on Mr. Terpin indicates that the Enterprise was

experienced in SIM swap hacks. Truglia further expressed skepticism in these conversations that

Pinsky, whom he believed had $70-80 million from his hacks, had or would “retire” because

hacking was a “game” for him (as indeed it was for Truglia himself). Truglia also called Pinsky

in these conversations a “professional thief” even though Pinsky at the time was only 16 years

old, and further stated that Pinsky had stolen tens of millions of dollars and had more money than

Truglia himself. He also stated that Pinsky engaged in hacks “all of the time.”

         77.       In 2017, and prior to the hack of Terpin, Pinsky was involved in another hack, the

specific identity of which has previously been provided to counsel for Pinsky. That separate

hack involved the theft of more than was taken from Mr. Terpin. Less than one month after that

separate hack, Pinsky had cryptocurrency directly traceable to the hack in wallets known to be

owned and controlled by Pinsky, and it is believed that Pinsky also owned and controlled the

wallets where the proceeds of this hack were initially transferred. Separately, Pinsky made

statements claiming to take responsibility for this major hack. In addition, for Pinsky to net the

total of $100 million he has repeatedly claimed to hold, another hack of significant quantity

would likely to have occurred, even given the number of Pinsky’s SIM swaps and hacks of other

victims.

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                   MR. TERPIN’S INVESTIGATIONS AND EXTRAJUDICIAL

                               COMMUNICATIONS WITH PINSKY

         78.       Plaintiff did not begin to learn of Pinsky’s involvement in this SIM-jacking until

late December 2018. On January 3, 2019, soon after Mr. Terpin learned about Pinsky’s

involvement, Mr. Terpin’s lawyers contacted Mr. Pinsky’s mother and were then directed to

John Siffert, Esq., who represented Mr. Pinsky.

         79.       On January 7, 2019, counsel for Mr. Terpin provided information regarding Mr.

Terpin’s claims against Pinsky to Mr. Siffert, including a draft complaint against Pinsky alleging

RICO and the pendent state claims alleged herein. Discussions ensued between counsel in the

following months. Pinsky’s counsel urged Plaintiff not to file any lawsuit and gave assurances

that Pinsky was cooperating with Plaintiff. During this same time period, Pinsky delivered

cryptocurrency, cash, and a watch to Mr. Terpin, with a value at the time of about $2 million.

After the return of this money, Pinsky’s counsel continued to indicate that Pinsky was

cooperating and that he desired to enter into a settlement agreement that would include the entry

of a substantial judgment against Pinsky. And, for an extended period of time, the parties’

counsel engaged in discussions about such an agreement. During these discussions, Pinsky’s

counsel repeatedly stressed the importance of delaying any judgment until the Fall of 2020 so

that, should it become public, it would not interfere with Pinsky’s college applications. While

Pinsky’s counsel expressed Pinsky’s claimed concern about how he would manage to pay such a

large judgment, it was never suggested at any time that Pinsky denied that he was involved the

theft of Mr. Terpin’s cryptocurrency; to the contrary, numerous statements were made that

Pinsky could only have known by virtue of being involved as alleged herein. Based on the

assurances from Pinsky’s counsel that the parties were engaging in good faith settlement

communications as reflected by the acknowledgments of Pinsky’s involvement and cooperation

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and based on the repeated pleas and requests that Plaintiff defer filing and work with Pinsky to

find a resolution, Plaintiff delayed filing and engaged in extended discussions with Pinsky’s

counsel.

         80.       On April 24, 2020, Pinsky’s lawyers communicated that Pinsky would not sign

the agreement that had been drafted and that it contained multiple “deal-breakers.”

Understanding for the first time since the discussions had begun that there would not be a

settlement, and now suspicious as to whether Pinsky ever intended to settle and that the drawn

out negotiations had merely been a ruse to stall and delay the filing of the complaint, Plaintiff

proceeded to promptly move forward with initiating litigation and filed the complaint in this

action on May 7, 2020.

                                         TERPIN’S DAMAGES

         81.       Terpin’s cryptocurrency holdings that are the subject of this proceeding are

valued in the sum of at least $23,808,125 consistent with applicable damages law.

         82.       Plaintiff is entitled at a minimum to interest on the losses, if not greater losses as a

result of his inability to use his cryptocurrency holdings to invest the proceeds.

         83.       In seeking to recover his money, Plaintiff will have incurred substantial attorney’s

fees, costs, and expenses in a sum to be proven at trial, and in any event no less than $1,000,000.

         84.       Plaintiff is entitled to recover from Defendants at least $23,808,125 (before

trebling or punitive damages), subject to credits given consistent with applicable law for any

amounts recovered by Plaintiff, plus interest and attorneys’ fees consistent with applicable law.

                                   NECESSITY OF INJUNCTIVE RELIEF

         85.       As noted above, Pinsky has admitted that he has $100 million of stolen money,

presumably in a mix of cash and cryptocurrency. He also reportedly had substantial cash stashed




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in his bedroom, which was reconfirmed by his inclusion of at least some portion of that cash with

the partial sum that he repaid in 2019.

         86.       Defendants have proven to be skillful professionals at using the internet for

stealing and laundering coins and money. They are as dangerous with a computer as armed bank

robbers are with guns.

         87.       Due to the nature of cryptocurrency and Defendants’ mastery of cybercrime,

Pinsky’s assets, including the amounts taken from Plaintiff, could readily be dissipated and lost

absent injunctive and other relief preventing any transfer.

                                     FIRST CLAIM FOR RELIEF

            (Against All Defendants for Violations of Section 1962(c) of the Racketeer

             Influenced and Corrupt Organizations Act (RICO), 18 U.S.C. § 1962(c))

         88.       Plaintiff realleges and incorporates by reference the allegations of Paragraphs 1

through 87 above as if fully set forth herein.

         89.       This claim for relief arises under 18 U.S.C. § 1962(c) and is asserted against

Defendants Pinsky and DOES 1-20.

         90.       Pinsky, non-party Truglia and each of the Doe Defendants, for purposes of this

particular cause of action, is or has been a “person” employed by or associated with an enterprise

engaged in, or the activities of which affect, foreign or interstate commerce (the “Enterprise”),

and as such, has conducted or participated, directly or indirectly, in the conduct of such

Enterprise’s affairs through a pattern of racketeering activity as described below.

         91.       For the purpose of this particular cause of action under Section 1962(c), Plaintiff

alleges on information and belief that the Enterprise consists of Defendant Pinsky, non-

Defendant Truglia, Accomplices A, B and C, the Doe Defendants and others whose names are

not yet known to Plaintiff. The members of the criminal enterprise, whose chief members

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included Pinsky and Accomplice A, engaged in and coordinated numerous criminal activities,

including SIM swaps and other hacks. Pinsky himself was engaged in hacks since he was 13,

which was several years before he and his cohorts are alleged to have hacked Mr. Terpin.

Moreover, as alleged herein on information and belief, the Enterprise perpetrated numerous SIM

swaps and hacks other than the SIM swap of Mr. Terpin’s cryptocurrency. Indeed, Pinsky

boasted that he had made $100 million, which means that either he engaged in a major hack,

such as the one alleged in Paragraphs 75-77, or in numerous smaller hacks, which is consistent

with Truglia’s statement to Chris David after Mr. Terpin’s hack that Pinsky did hacks “all of the

time” and had not retired.

         92.       Plaintiff alleges on information and belief that since at least 2015 Defendants

Pinsky, non-defendant Truglia, Accomplices A, B and C and Defendants DOES 1-20 and other

Enterprise members, knowingly, intentionally, and unlawfully, aided and abetted, and conspired

with each other, to devise, or intend, multiple coordinated schemes to defraud cryptocurrency

holders and investors and others (including Plaintiff), by which they illegally stole their victims’

identities in order to illegally obtain and acquire control of victims’ cryptocurrency and other

accounts, and to launder the proceeds of these accounts and to transfer such proceeds to accounts

under their control. All of these actions were undertaken through multiple electronic

communications and through interstate commerce and internationally. These actions constitute

multiple violations of federal statutory law, including wire fraud (18 U.S.C. § 1343), money

laundering (18 U.S.C. § 1956(a)(1)(B)(i)) and acts of aggravated theft under 18 U.S.C.

§ 1028(A)(a)(1) and are thus predicate acts constituting racketeering activity under 18 U.S.C.

§ 1961(B)

         93.       In furtherance of its scheme to defraud, and in order to achieve its objectives, the

Enterprise knowingly, intentionally, and unlawfully aided and abetted to commit, attempted to

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commit, conspired to commit, did commit, and caused to be committed, the herein enumerated

overt and/or predicate acts of racketeering activity to illegally steal money from multiple victims,

including Plaintiff, through SIM swaps, hacks and other subterfuges and to subsequently launder

and retain such money.

         94.       On information and belief, for several years prior to Mr. Terpin’s hack and

continuing to the present, for the purpose of executing the Enterprise’s scheme to defraud,

Defendant Pinsky, non-Defendant Truglia, and Accomplices A, B and C and other members of

the Enterprise unlawfully obtained information about multiple victims’ mobile phone accounts,

including information about security codes and other personal information, and bribed personnel

at mobile carriers to obtain such information. The Enterprise then used such information, in

combination with false identifications and information obtained through phishing or the Dark

Web, to impersonate and steal the identity of multiple victims and through multiple electronic

communications in interstate commerce to port over a victim’s telephone number to a phone

under the control of the Enterprise. The Enterprise used victims’ phones to intercept messages to

the victim, including 2FA messages, and accessed the victim’s files and accounts to obtain

information about cryptocurrency holdings, including private keys. Through this scheme, the

Enterprise gained control of multiple victims’ accounts, including cryptocurrency wallets or

other accounts, and exfiltrated victims’ cryptocurrency to accounts under their own control. The

Enterprise further laundered the proceeds of their thefts to attempt to hide their identity. All of

the actions of the Enterprise involved multiple communications through Interstate commerce

through electronic means. The scheme perpetrated on Terpin by Defendants Pinsky, non-

defendant Truglia, Accomplices A, B and C, and Defendants DOES 1-20, as alleged in this

complaint, is typical of the Enterprise’s modus operandi, but is only one example of the multiple

criminal acts engaged in by the Enterprise.

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         95.       The scheme perpetrated by the Pinsky and other members of the Enterprise,

including non-defendant Truglia, Accomplices A, B and C, and DOES 1-20 took place in

interstate commerce within the United States. Through the conduct described above, in

furtherance of the scheme to defraud Terpin and other victims, the members of the Enterprise

knowingly, intentionally, and unlawfully, aided and abetted and conspired with each other to

violate, and did violate 18 U.S.C. § 1343 (wire fraud); 18 U.S.C. § 1956(a)(1)(B)(ii) (money

laundering) and 18 U.S.C. § 1028(A)(a)(1) (aggravated identity theft).

         96.       Upon information and belief, Plaintiff further alleges that Pinsky and other

members of the Enterprise threatened and extorted members of Enterprise and others, including

Individual X, by threatening to kill or harm Individual X and a member of Individual X’s family

in order to extort money from Individual X. For example, Pinsky threatened to harm Individual

X’s mother and Individual X himself if he did not pay Pinsky cryptocurrency or did not return

the misdirected cryptocurrency or sell drugs to raise money to pay him back. Pinsky also

threatened Individual X by referencing what the Mafia would do to him in a similar situation.

Such actions constitute extortion under New York Penal Law § 155.40 (grand larceny and

extortion in second degree) and § 155.42 (grand larceny in first degree)). These violations of

New York state law constitute additional predicate acts under 18 U.S.C. § 1961(A) because they

constitute extortion and are subject to imprisonment under state law for more than one year.

         97.       Through the conduct described above, Defendants Pinsky, non-defendant Truglia,

Accomplices A, B and C and Defendants DOES 1-20 and other Enterprise members, knowingly,

intentionally and unlawfully, aided and abetted, conspired to, and each of them in fact did,

conduct or participate, directly or indirectly, in the conduct of the Enterprise’s affairs, through a

pattern of multiple unlawful actions in violation of 18 U.S.C. § 1343 (wire fraud); 18 U.S.C.

§ 1956(a)(1)(B)(ii) (money laundering); 18 U.S.C. § 1028(A)(a)(1) (aggravated identity theft);

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New York Penal Code § 155.05(2)(E) (extortion); and New York Penal Code § 155.40 (grand

larceny and extortion in second degree); and § 155.42 (grand larceny in first degree. As a

proximate cause of the Defendants’ violations, Plaintiff was injured in his property inasmuch as

he has been the object of theft of his property in violation of law.

         98.       The injuries suffered by Plaintiff Michael Terpin are reasonably estimated to be in

the amount of at least $23,808,125, with interest accruing from the date each component of said

sum was converted by Defendant, subject to credits given consistent with applicable law for any

amounts recovered by Plaintiff.

         99.       Pursuant to 18 U.S.C. § 1964(c), Plaintiff shall recover threefold the damages

sustained in an amount of at least $71,415,375 (i.e., $23,808,125 x 3), with interest accruing

consistent with applicable law, subject to credits given consistent with applicable law for any

amounts recovered by Plaintiff. In 2019, a Los Angeles County Superior Court Judge assessed

such treble damages against Truglia for his participation in the theft of Plaintiff’s cryptocurrency

and entered a $75.8 million judgment against him.

         100.      Pursuant to 18 U.S.C. § 1964(c), Plaintiff Michael Terpin is entitled to reasonable

attorneys’ fees, expenses, and costs in a sum to be proven at trial, and in any event no less than

$1,000,000.

                                   SECOND CLAIM FOR RELIEF

       (Against All Defendants for Conversion and Conspiracy to Commit Conversion)

         101.      Plaintiff realleges and incorporates by reference the allegations contained in

Paragraphs 1 through 100 above as if fully set forth herein.

         102.      At all times mentioned above, Plaintiff was, and still is, the owner and was, and

still is, entitled to the possession of cryptocurrency valued in the sum of at least $23,808,125

consistent with applicable damages law.

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         103.      On or about January 7, 2018, Defendants Pinsky, non-defendant Truglia,

accomplices A, B and C and Defendants DOES 1-20 took and conspired to take the property

described above from Plaintiff’s possession in the manner described above and converted the

same to their own use.

         104.      As a proximate result of the wrongful conduct of Defendants Pinsky, non-

defendant Truglia, Accomplices A-C and Defendants DOES 1-20 as alleged above, Terpin has

been damaged in the sum to be proven at trial, but at least $23,808,125, with interest accruing

from the date each component of said sum was converted by Defendant, subject to credits given

consistent with applicable law for any amounts recovered by Plaintiff.

         105.      As a further proximate result of the acts alleged above, Terpin has also expended

substantial sums of time and money in pursuit of the sums converted by Defendants. Terpin is

presently incurring such amounts in an attempt to recover his converted property. The full

amount and extent of those damages are presently unknown. Plaintiff will seek leave to amend

this complaint when the full extent and amount of said damages have been ascertained.

         106.      Defendants Pinsky and DOES 1-20 have engaged in despicable conduct as

alleged above with an intent to injure Terpin and to subject him to cruel and unjust hardship in

conscious disregard of his rights, and these actions were done fraudulently, maliciously and

oppressively. Terpin is therefore entitled to punitive or exemplary damages against Defendants

in an amount sufficient to punish and make a public example of each of the Defendants.

                                    THIRD CLAIM FOR RELIEF

                    (Against All Defendants for Money Had and Received)

         107.      Plaintiff realleges and incorporates by reference the allegations of Paragraphs 1

through 106 above as if fully set forth herein.




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         108.      Defendant Pinsky and DOES 1-20 received money belonging to Terpin in the

amount of a sum to be proven at trial, but at least $23,808,125 at that time. Defendants Pinsky

and DOES 1-20 benefitted from the receipt of that money. Under principles of equity and good

conscience, Defendants should under no circumstances whatsoever be permitted to keep that

money.

         109.      The whole of this sum has not been paid back to Plaintiff, and there is now due,

owing, and unpaid – as money had and received – the sum to be proven at trial, which is at least

$23,808,125, with interest accruing from the date each component of said sum was converted by

Defendants, subject to credits given consistent with applicable law for any amounts recovered by

Plaintiff.

                                   FOURTH CLAIM FOR RELIEF

                                 (Against All Defendants for Replevin)

         110.      Plaintiff realleges and incorporates by reference the allegations of Paragraphs 1

through 109, above, as if fully set forth herein.

         111.      Plaintiff is, and at all times material herein was, the owner of personal property

described as the cryptocurrency holdings identified above.

         112.      Plaintiff is, and at all times material herein was, entitled to immediate and

exclusive possession of his cryptocurrency holdings.

         113.      During and as a direct and proximate result of Defendants’ wrongful possession

and retention of his cryptocurrency holdings, Plaintiff has suffered the loss of the use and

enjoyment of them as well as additional damages in an amount to be proven at trial but no less

than $23,808,125, with interest accruing from the date each component of said sum was

converted by Defendants, subject to credits given consistent with applicable law for any amounts

recovered by Plaintiff.

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         114.      Neither Pinsky nor any other Defendant has returned to Mr. Terpin all that the

Enterprise has stolen from Plaintiff.

         115.      Plaintiff is entitled to immediate return and possession of his cryptocurrency

holdings.

         116.      In doing the acts alleged above, Defendants acted with oppression, fraud, and

malice and with the intent to defraud Plaintiff. Accordingly, Plaintiff is entitled to an award of

punitive and exemplary damages against Defendants in a sum to be proven at time of trial.

                                    FIFTH CLAIM FOR RELIEF

                   (Against All Defendants for a Preliminary and Permanent Injunction)

         117.      Plaintiff realleges and incorporates by reference the allegations of Paragraphs 1

through 116 as if fully set forth herein.

         118.      Defendants’ possession and control of Plaintiff’s cryptocurrency holdings and

money, and the substantial threat of loss through transfers to unknown accounts or persons, is

causing and will continue to cause Plaintiff great and irreparable harm, for which Plaintiff has no

adequate remedy at law.

         119.      Plaintiff is therefore entitled to a preliminary and permanent order enjoining and

restraining Defendants Pinsky and DOES 1-20, and their agents, servants, employees,

confederates, co-conspirators, aiders and abettors, and representatives from engaging in,

committing, or performing, directly or indirectly, any and all of the following acts: accessing,

expending, disbursing, transferring, assigning, pledging, encumbering, concealing, laundering,

washing, or in any manner whatsoever disposing of the whole or any part of the cryptocurrency

holdings and cash belonging to Plaintiff.

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                                    DEMAND FOR JUDGMENT

         WHEREFORE, Plaintiff prays for judgment against Defendants, and each of them, as

follows:

              1. For the value of the property converted in the sum to be proven at trial, but at least

$23,808,125, subject to credits given consistent with applicable law for any amounts recovered

by Plaintiff;

              2. For interest thereon at the legal rate from the date of the conversion of each

component of the foregoing sum;

              3. For additional damages for time and money properly expended in pursuit of the

converted property, according to proof;

              4. For an order requiring Defendants Pinsky and DOES 1-20, jointly and severally,

to return to Plaintiff all assets, funds, and other property derived from such transactions, as well

as any benefits or profits derived therefrom, and to pay Plaintiff any consequential damages

caused by these transactions;

              5. For an order compelling Defendants Pinsky and DOES 1-20 to reconvey legal

title of Plaintiff’s cryptocurrency holdings to Plaintiff;

              6. For an order requiring Defendants Pinsky and DOES 1-20, and their agents,

servants, employees, confederates, co-conspirators, aiders and abettors, and representatives to be

enjoined during the pendency of this action, and then permanently enjoined after conclusion of

this action, from engaging in, committing, or performing, directly or indirectly, any and all of the

following acts: accessing, expending, disbursing, transferring, assigning, pledging,

encumbering, concealing, or in any manner whatsoever disposing of the whole or any part of the

cryptocurrency holdings and cash belonging to Plaintiff;




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              7. For punitive or exemplary damages in an amount sufficient to punish Defendants

Pinsky and DOES 1-20 and make a public example of them;

              8. For treble damages pursuant to 18 U.S.C § 1964(c);

              9. For attorney’s fees pursuant to 18 U.S.C. § 1964(c);

              10. For costs of suit incurred herein; and

              11. For such other and further relief as this Court may deem just and proper.

                                DEMAND FOR JURY TRIAL

              Plaintiff demands trial by jury on all claims for relief for which a jury trial is

appropriate.


DATED: September 11, 2020                           CHEHEBAR DEVENEY & PHILLIPS

                                                    and

                                                    GREENBERG GLUSKER FIELDS CLAMAN &
                                                    MACHTINGER LLP



                                                    By: /s/
                                                         CORNELIUS P. McCARTHY



                                                    By: /s/___________________________________
                                                         PIERCE O’DONNELL

                                                          Attorneys for Plaintiff
                                                          MICHAEL TERPIN




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